     Case 2:18-mj-03666 Document 2 Filed on 09/04/18 in TXSD Page 1 of 1
                                                                              United States District Court
                                                                                Southern District of Texas
                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS                                 ENTERED
                          CORPUS CHRISTI DIVISION                              September 04, 2018
                                                                                David J. Bradley, Clerk




UNITED STATES OF AMERICA                    §
                                            §
versus                                      §          Case No. 2:18−mj−03666
                                            §
Elder Danilo Chajon−Jolon                   §


             ORDER APPOINTING FEDERAL PUBLIC DEFENDER


      The above Defendant has testified under oath or has otherwise satisfied this
Court that he or she is financially unable to employ counsel, and does not wish to
waive counsel. Because the interests of justice so require, the Federal Public Defender
of this District is hereby appointed, pursuant to the provisions of the Criminal Justice
Act, to represent said Defendant in this case.
      An appointment by a Magistrate Judge shall remain in effect if the case proceeds
to District Court.
      Counsel will be notified electronically via CM/ECF.


      ORDERED the 4th of September 2018.
